
863 A.2d 698 (2004)
272 Conn. 905
MARICULTURE PRODUCTS LTD.
v.
THOSE CERTAIN UNDERWRITERS AT LLOYD'S OF LONDON Individually Subscribing to Certificate No. 1395/91 et al.
Supreme Court of Connecticut.
Decided December 8, 2004.
John W. Cannavino and Robert J. Sickinger, Stamford, in support of the petition.
Steven D. Ecker and James R. Smart, Hartford, in opposition.
The plaintiff's petition for certification for appeal from the Appellate Court, 84 Conn.App. 688, 854 A.2d 1100 (2004), is denied.
